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UNITED STATES DISTRICT COURT

 

DISTRICT OF COLUMBIA
JUDICIAL WATCH INC.,
Plaintiff,
v. Civil Action No.: 17-cv-00916 (ABJ)
UNITED STATES DEPARTMENT OF
JUSTICE,
Defendant.

 

 

Exhibit A
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U.S. Department of Justice

 

Federal Bureau of Investigation
Washington, D.C. 20535

August 3, 2018

MR. SEAN A. DUNAGAN
JUDICIAL WATCH, INC.
SUITE 800

425 THIRD STREET, SW
WASHINGTON, DC 20024

FOIPA Request No.: 1370340-000

Subject: RECORDS BETWEEN FBI AND
CHRISTOPHER STEELE AND/OR ORBIS
BUSINESS INTELLIGENCE
(January 1, 2016 to Present)

Judicial Watch, Inc. v. U.S. Department of Justice
Civil Action No. 1:17-cv-00916

Dear Mr. Dunagan:

This is in response to your Freedom of Information Act (FOIA) requests and subsequent civil
action.

Records responsive to your requests are currently being processed. In order to avoid charging
duplication fees unnecessarily, we have made these records available in the FBI’s FOIA Library (The Vault)
on the FBI's public website, hitp://vault.foi.gov. On the right-hand side of the home page, under the
heading “Vault Links” you can search for your subject alphabetically (click on “A-Z Index”), by category (click
on “Categories”), or by entering text into our search engine (click on “Search Vault’). For records
responsive to these requests, please enter “Records between FBI and Christopher Steele” as the search
term.

The available documents represent an interim release of information responsive to your Freedom
of Information Act (FOIA) request. You will be notified when additional releases are available.

For your information, Congress excluded three discrete categories of law enforcement and national
security records from the requirements of the FOIA. See 5 U.S. C. § 552(c) (2006 & Supp. IV (2010). This
response is limited to those records that are subject to the requirements of the FOIA. This is a standard
notification that is given to all our requesters and should not be taken as an indication that excluded records
do, or do not, exist.

Although your request is in litigation, we are required by law to provide you the following
information:

You may file an appeal by writing to the Director, Office of Information Policy (OIP), United States
Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, D.C. 20530-0001, or you
may submit an appeal through OIP's FOIA online portal by creating an account on the following web site:
https://foiaonline.regulations.gov/foia/action/public/home. Your appeal must be postmarked or electronically
transmitted within ninety (90) days from the date of this letter in order to be considered timely. If you submit
your appeal by mail, both the letter and the envelope should be clearly marked “Freedom of Information Act
Appeal.” Please cite the FOIPA Request Number assigned to your request so that it may be easily identified.
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You may seek dispute resolution services by contacting the Office of Government Information
Services (OGIS) at 877-684-6448, or by emailing ogis@nara.gov. Alternatively, you may contact the FBI's

FOIA Public Liaison by emailing foipaquestions@fbi.gov. If you submit your dispute resolution
correspondence by email, the subject heading should clearly state “Dispute Resolution Services.” Please

also cite the FOIPA Request Number assigned to your request so it may be easily identified.
Enclosed for your information is a copy of the FBI Fact Sheet and Explanation of Exemptions.

Sincerely,

Sle 4,

David M. Hardy

Section Chief,

Record/Information
Dissemination Section
Records Management Division

Enclosures
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FBI FACT SHEET

 

The primary functions of the FBI are national security and law enforcement.
The FBI does not keep a file on every citizen of the United States.
The FBI was not established until 1908 and we have very few records prior to the 1920s.

FBi files generally contain reports of FBI investigations of a wide range of matters, including counterterrorism,
counter-intelligence, cyber crime, public corruption, civil rights, organized crime, white collar crime, major thefts,
violent crime, and applicants.

The FBI does not issue clearances or non-clearances for anyone other than its own personnel or persons
having access to FBI facilities. Background investigations for security clearances are conducted by many
different Government agencies. Persons who received a clearance while in the military or employed with some
other government agency should contact that entity. Most government agencies have websites which are
accessible on the internet which have their contact information.

An identity history summary check or “rap sheet” is NOT the same as an “FBI file.” It is a listing of
information taken from fingerprint cards and related documents submitted to the FBI in connection with arrests,
federal employment, naturalization or military service. The subject of a “rap sheet” may obtain a copy by
submitting a written request to FBI CJIS Division - Summary Request, 1000 Custer Hollow Road, Clarksburg, WV
26306. Along with a specific written request, the individual must submit a new full set of his/her fingerprints in
order to locate the record, establish positive identification, and ensure that an individual's records are not
disseminated to an unauthorized person. The fingerprint submission must include the subject’s name, date and
place of birth. There is a required fee of $18 for this service, which must be submitted by money order or
certified check made payable to the Treasury of the United States. A credit card payment option is also
available. Forms for this option and additional directions may be obtained by accessing the FBI Web site at
www.fbi.gov/about-us/cjis/identity-history-summary-checks.

The National Name Check Program (NNCP) conducts a search of the FBI’s Universal Index (UNI) to identify
any information contained in FBI records that may be associated with an individual and provides the results of that
search to a requesting federal, state or local agency. Names are searched in a multitude of combinations and
phonetic spellings to ensure all records are located. The NNCP also searches for both “main” and “cross
reference” files. A main file is an entry that carries the name corresponding to the subject of a file, while a cross
reference is merely a mention of an individual contained in a file. The results from a search of this magnitude
can result in several “hits” and “idents” on an individual. In each instance where UNI has identified a name
variation or reference, information must be reviewed to determine if it is applicable to the individual in question.

The Record/Information Dissemination Section (RIDS) searches for records and provides copies of FBI files
responsive to Freedom of Information or Privacy Act (FOIPA) requests for information. RIDS provides
responsive documents to requesters seeking “reasonably described information.” For a FOIPA search, the
subject’s name, event, activity, or business is searched to determine whether there is an associated investigative
file. This is called a “main file search” and differs from the NNCP search.

FOR GENERAL INFORMATION ABOUT THE FBI, VISIT OUR WEBSITE AT
www. fbi.gov

7/18/16
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EXPLANATION OF EXEMPTIONS
SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552

(A) specifically authorized under criteria established by an Executive order to be kept secret in the interest of national defense or foreign
policy and (B) are in fact properly classified to such Executive order;

related solely to the internal personnel rules and practices of an agency;

specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (A) requires that the
matters be withheld from the public in such a manner as to leave no discretion on issue, or (B) establishes particular criteria for withholding
or refers to particular types of matters to be withheld;

trade secrets and commercial or financial information obtained from a person and privileged or confidential;

inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in litigation with
the agency;

personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy;

records or information compiled for law enforcement purposes, but only to the extent that the production of such law enforcement records
or information ( A ) could reasonably be expected to interfere with enforcement proceedings, ( B ) would deprive a person of a right to a
fair trial or an impartial adjudication, ( C ) could reasonably be expected to constitute an unwarranted invasion of personal privacy, ( D )
could reasonably be expected to disclose the identity of confidential source, including a State, local, or foreign agency or authority or any
private institution which furnished information on a confidential basis, and, in the case of record or information compiled by a criminal law
enforcement authority in the course of a criminal investigation, or by an agency conducting a lawful national security intelligence
investigation, information furnished by a confidential source, ( E ) would disclose techniques and procedures for law enforcement
investigations or prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
reasonably be expected to risk circumvention of the law, or ( F ) could reasonably be expected to endanger the life or physical safety of any
individual;

contained in or related to examination, operating, or condition reports prepared by, on behalf of, or for the use of an agency responsible for
the regulation or supervision of financial institutions; or

geological and geophysical information and data, including maps, concerning wells.
SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552a
information compiled in reasonable anticipation of a civil action proceeding;

material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or reduce crime
or apprehend criminals;

information which is currently and properly classified pursuant to an Executive order in the interest of the national defense or foreign
policy, for example, information involving intelligence sources or methods;

investigatory material compiled for law enforcement purposes, other than criminal, which did not result in loss of a right, benefit or
privilege under Federal programs, or which would identify a source who furnished information pursuant to a promise that his/her identity
would be held in confidence;

material maintained in connection with providing protective services to the President of the United States or any other individual pursuant
to the authority of Title 18, United States Code, Section 3056;

required by statute to be maintained and used solely as statistical records;
investigatory material compiled solely for the purpose of determining suitability, eligibility, or qualifications for Federal civilian
employment or for access to classified information, the disclosure of which would reveal the identity of the person who furnished

information pursuant to a promise that his/her identity would be held in confidence;

testing or examination material used to determine individual qualifications for appointment or promotion in Federal Government service
he release of which would compromise the testing or examination process;

material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of the person
who furnished the material pursuant to a promise that his/her identity would be held in confidence.

FBI/DOJ
